Filed 8/22/24 Driggers v. Southwest Traders CA3
                                           NOT TO BE PUBLISHED
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
publication or ordered published, except as specified by rule 8.1115(b). This opinion has not been certified for publication
or ordered published for purposes of rule 8.1115.




                IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA
                                      THIRD APPELLATE DISTRICT
                                                    (San Joaquin)
                                                            ----




 JOHN DRIGGERS,                                                                                C099590

                    Plaintiff and Appellant,                                          (Super. Ct. No.
                                                                                  STKCVUCP20230002539)
           v.

 SOUTHWEST TRADERS INC.,

                    Defendant and Respondent.

         Appellant John Driggers (Driggers), a former employee of respondent Southwest
Traders Inc. (Southwest), appeals from an order denying his petition to vacate an
arbitration award. We conclude that the order is not appealable and dismiss the appeal.
                         FACTUAL AND PROCEDURAL BACKGROUND
         Driggers is a former employee of Southwest. He filed a demand for arbitration
against Southwest after his termination. The arbitrator issued an order granting
Southwest’s motion for summary judgment.
         Driggers filed a petition in the trial court to vacate the arbitration award, alleging
that the arbitrator prejudicially erred in refusing to continue the motion for summary


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judgment hearing and that the arbitration award was procured by corruption, fraud, or
other unfair means. The trial court issued an order denying the petition on its merits
without confirming the arbitration award. The record does not show that a judgment has
been entered. Driggers appealed from the order denying his petition 104 days after the
entry of the order.
                                       DISCUSSION
       “An appealable judgment or order is essential to appellate jurisdiction, and the
court, on its own motion, must dismiss an appeal from a nonappealable order.” (Art
Movers, Inc. v. Ni West, Inc. (1992) 3 Cal.App.4th 640, 645.) Therefore, as a threshold
issue, we consider whether the trial court’s order denying Driggers’s petition to vacate
the arbitration award is appealable, although neither party addresses it. (In re Estevez
(2008) 165 Cal.App.4th 1445, 1457-1458 [“as the question of jurisdiction is always
fundamental [citation], ‘a court has inherent power to inquire into jurisdiction of its own
motion, regardless of whether the question is raised by the litigants’ ”].)
       An aggrieved party may appeal from an order dismissing a petition to confirm,
correct, or vacate an award. (Code Civ. Proc., § 1294, subd. (b).) “No appeal, however,
will lie from an order denying vacation or correction of an arbitration award.” (Mid-
Wilshire Associates v. O’Leary (1992) 7 Cal.App.4th 1450, 1454.) “Such an order may
be reviewed upon an appeal from the judgment of confirmation.” (Ibid.) Because the
record contains no judgment confirming the award, Driggers’s appeal from the order
denying vacation of the arbitration award must be dismissed. (Ibid.)
       We will not construe the order as a writ of mandate or an order dismissing the
petition to vacate the arbitration award for two reasons.
       First, a writ petition generally must be filed within 60 days of the trial court’s
order. (People v. Superior Court (Lopez) (2005) 125 Cal.App.4th 1558, 1562.) But
Driggers did not file the instant appeal until 104 days after the challenged order, far
exceeding the 60-day deadline. Moreover, “[t]o treat the instant appeal as a writ

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application would . . . encourage parties to knowingly appeal from nonappealable orders,
safe in the knowledge that their appeal will be ‘saved by the appellate courts.’ We cannot
condone or encourage such practice.” (Mid-Wilshire Associates v. O’Leary, supra,
7 Cal.App.4th at p. 1456.)
       Second, “[i]n determining whether the trial court’s order is appealable, we look to
the substance and effect of the order, rather than its label.” (Maplebear, Inc. v. Busick
(2018) 26 Cal.App.5th 394, 400.) “[A]n order denying a petition to vacate on substantive
grounds . . . is not a final disposition and . . . is not directly appealable.” (Mid-Wilshire
Associates v. O’Leary, supra, 7 Cal.App.4th at p. 1454.) Here, the trial court’s order
denied Driggers’s petition on substantive grounds and therefore cannot be construed as a
dismissal. (Compare with Maplebear, Inc. at p. 400 [construing an order denying a
petition to vacate an arbitration award as a dismissal because “its effect is to dismiss the
proceeding that was initiated by [the] petition without reaching the merits”].)
                                       DISPOSITION
       The appeal is dismissed. Southwest shall recover its costs on appeal. (Cal. Rules
of Court, rule 8.278(a)(1).)


                                                    /s/
                                                   MESIWALA, J.


We concur:



 /s/
DUARTE, Acting P. J.



 /s/
KRAUSE, J.


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